
Appeal from an award for total disability from September 27, 1943, to July 1, 1944, and for partial disability from the latter date to May 24, 1945. Claimant received his injuries when he fell down a flight of stairs. The appellant asserts that the injuries were received solely as the result of the intoxication, of which there is overwhelming proof. Claimant testified that he only drank one can of beer with his lunch. There is no evidence to sustain a finding that claimant’s accidental fall was separable from his intoxication. Award reversed and claim dismissed, with costs against the Workmen’s Compensation Board. Hill, P. J., Brewster, Foster and Lawrence, JJ., concur; Heffernan, J., dissents and votes to affirm the award.
